                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO. 3:07-cr-00119
 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        vs.                                      )                  ORDER
                                                 )
 (4) ALFREDO HOMES SUSI and                      )
 (5) CHAD MICHAEL SCHNEIDER,                     )
                                                 )
                Defendants.                      )
                                                 )

       TAKE NOTICE that a hearing on on the Government’s Motion for an Order Directing

Defendant Alfredo Susi to Show Cause Why He Should Not be Held in Contempt of Court (Doc.

No. 58) and the Government’s Motion for an Order Directing Defendant Chad Michael Schneider

to Show Cause Why He Should Not be Held in Contempt of Court (Doc. No. 67) will be held at 4:00

p.m. on Wednesday, December 12, 2007, in Courtroom #1 of the Charles R. Jonas Federal Building

in Charlotte, North Carolina.

       IT IS SO ORDERED.

                                              Signed: December 5, 2007




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